Case 2:18-cv-04689-MWF-E Document 11 Filed 08/23/18 Page 1 of 3 Page ID #:31




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       Berke Enterprises, LTD., L.P. and Onnie Enterprises, LLC
 12
 13                        UNITED STATES DISTRICT COURT
 14                       CENTRAL DISTRICT OF CALIFORNIA
 15    NEHEMIAH KONG,                         Case: 2:18-CV-04689-MWF-E
 16                Plaintiff,
 17    v.                                     JOINT STIPULATION FOR
                                              DISMISSAL PURSUANT TO
 18    BERKE ENTERPRISES, LTD.,               F.R.CIV.P. 41 (a)(1)(A)(ii)
       L.P., a California Limited
 19    Partnership;
       ONNIE ENTERPRISES, LLC, a
 20    California Limited Liability
       Company;and Does 1-10,
 21
                   Defendants.
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      Joint Stipulation for Dismissal            Case: 2:18-CV-04689-MWF-E
Case 2:18-cv-04689-MWF-E Document 11 Filed 08/23/18 Page 2 of 3 Page ID #:32




  1                                     STIPULATION
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  3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
  4   between the parties hereto that this action may be dismissed with prejudice
  5   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
  6   This stipulation is made as the matter has been resolved to the satisfaction of
  7   all parties.
  8
  9   Dated: August 23, 2018             CENTER FOR DISABILITY ACCESS
 10
 11                                      By: /s/ Phyl Grace
                                                Phyl Grace
 12                                             Attorneys for Plaintiff
 13
 14   Dated: August 23, 2018             THE KARLIN LAW FIRM LLP
 15
 16                                      By: /s/ David E. Karlin
                                                David E. Karlin
 17                                             Attorney for Defendantss
 18
                                                Berke Enterprises, LTD., L.P. and
                                                Onnie Enterprises, LLC
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      Joint Stipulation for Dismissal                Case: 2:18-CV-04689-MWF-E
Case 2:18-cv-04689-MWF-E Document 11 Filed 08/23/18 Page 3 of 3 Page ID #:33




  1                         SIGNATURE CERTIFICATION
  2
  3   I hereby certify that the content of this document is acceptable to David E.
  4   Karlin, counsel for Berke Enterprises, LTD., L.P. and Onnie Enterprises,
  5   LLC, and that I have obtained Mr. Karlin’s authorization to affix his
  6   electronic signature to this document.
  7
  8   Dated: August 23, 2018            CENTER FOR DISABILITY ACCESS
  9
 10                                     By: /s/ Phyl Grace
                                               Phyl Grace
 11                                            Attorneys for Plaintiff
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      Joint Stipulation for Dismissal               Case: 2:18-CV-04689-MWF-E
